                                               Justin Ashenfelter)                           23-004




               ANTHONY LOMBARDO                                                23-mj-88




                      Defendant(s)


                                           CRIMINAL COMPLAINT


                                     January 17, 2023                                         Philadelphia
    Eastern                           Pennsylvania

          Code Section                                                Offense Description
18 U.S.C. §§ 111(a)(1) and 1114(a)        Attempted murder and forcible assault of a federal officer and a person assisting
                                          such an officer




See attached affidavit.




                                                                                      /s/ Joseph Donahue
                                                                                      Complainant’s signature

                                                                              Special Agent Joseph Donahue, FBI
                                                                                       Printed name and title

                                                                                                  Digitally signed
                                                                                     Lynne        by Lynne A.
                                                                                                  Sitarski
                                                                                     Sitarski     Date: 2023.01.18
                                                                                                  09:33:39 -05'00'
         January 17, 2023
                                                                                          Judge’s signature

                                 Philadelphia, PA                        Hon. Lynne A. Sitarski, U.S. Magistrate Judge
                                                                                     Printed name and title
                                                                                            22-mj-88

                    AFFIDAVIT IN SUPPORT OF ARREST WARRANT

       I, Joseph Donahue, Special Agent for the Federal Bureau of Investigation (“FBI”), being

duly sworn, state the following:

       1.      I have been employed as a Special Agent with the FBI since September 2015 and

am currently assigned to the Philadelphia FBI Violent Crime Task Force (“VCTF”). My current

duties include, among other things, the investigation of bank robberies, fugitives, firearms

offenses, kidnappings, and in this instance, assaults on federal employees. Prior to my duties as

Special Agent of the FBI, I was a Police Officer in the Town of Northborough, Massachusetts

from January 2013 through August 2015.

       2.      The statements in this Affidavit are based in part on my investigation of this

matter and on information provided by other law enforcement officers and witnesses. Because

this affidavit is being submitted for the limited purpose of securing an arrest warrant, I have not

included each and every fact known to me concerning this investigation. I have set forth only

those facts that I believe are necessary to establish probable cause to believe that ANTHONY

LOMBARDO attempted to murder and forcibly assault, intimidate, and interfere with a Federal

Officer or person assisting such an officer, in violation of 18 U.S.C. §§ 111(a)(1) and 1114(a).

                         FACTS SUPPORTING PROBABLE CAUSE

       3.      On January 17, 2023, L.J.,1 a Court Security Officer (“CSO”) employed by the

United States Marshals Service (“USMS”) was working his assigned post in the area of 34 North

7th Street, Philadelphia, PA. CSO L.J., a private security officer contracted by the USMS, was

engaged in performance of official duties on behalf of and in assistance to the USMS and the




       1
          The identity of L.J. is known to the government. L.J. is identified by initials to protect
his identity given the violent nature of the investigation and the location of the incident.
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United States as defined by 18 U.S.C. § 1114. Specifically, CSO L.J. was charged with manning

a security checkpoint that served the Federal Offices and Courthouse for the Eastern District of

Pennsylvania (“Federal Complex”).

       4.      At approximately 9:30 a.m., a white Dodge Caravan bearing Pennsylvania

registration “STANVIL” (“the Vehicle”) parked along the east side of North 7th Street,

approximately 75 feet south of the vehicle checkpoint for the Federal Complex. The area where

the Vehicle parked was a prohibited parking zone. Within approximately 30 seconds of the

Vehicle arriving, CSO L.J. approached the Vehicle at the front passenger side. The operator of

the Vehicle, identified as defendant ANTHONY LOMBARDO, exited the driver’s seat and

walked around the front of Vehicle with a large kitchen knife in his right hand. He approached

CSO L.J. at which time CSO L.J. discharged his service firearm, striking LOMBARDO.

LOMBARDO fell to the ground on his knees, driving the knife into the dirt of a tree planter on

the side of the road. LOMBARDO released the knife, leaving it in the ground. With his right

hand, LOMBARDO then began grabbing at an unknown object inside the left sleeve of his long-

sleeved shirt. CSO L.J. discharged his firearm once more, striking LOMBARDO, who then laid

on his back with arms outstretched.

       5.      A witness, A.G.,2 observed aid being rendered to the injured LOMBARDO and

saw a second knife recovered from LOMBARDO’s person. A second witness, G.D.,3 was

assisting other CSOs with LOMBARDO’s apprehension and subsequent aid, and observed the

removal of a second knife that was protruding from the sleeve of LOMBARDO’s left arm.



       2
         The identity of A.G. is known to the government. A.G. is identified by initials to
protect her identity given the violent nature of the investigation and the location of the incident.
       3
         The identity of G.D. is known to the government. G.D. is identified by initials to
protect his identity given the violent nature of the investigation and the location of the incident.
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       6.      Responding law enforcement officers also observed that LOMBARDO’s clothing

was oddly shaped in that the outline of a square, bulky object was visible beneath his gray

hooded sweatshirt. This concerned law enforcement personnel that a potential explosive device

may be secreted beneath LOMBARDO’s clothing. That object was later found to be makeshift

body armor made of hard plastic. While LOMBARDO was being handcuffed, he flailed his arms

and legs at law enforcement, at which time he stated, in substance: “Let me bleed out.”

       7.      Accordingly, I believe that based upon the violent nature of LOMBARDO’s

attempted assault on CSO L.J. with a large kitchen knife, the existence of a second knife secreted

in his sleeve, and his makeshift body armor, I submit that there is probable cause to believe that

LOMBARDO attempted to murder and forcibly assault, intimidate, and interfere with a Federal

Officer or person assisting such an officer, in violation of 18 U.S.C. §§ 111(a)(1) and 1114(a).

Therefore, I respectfully request that the attached arrest warrant be issued to authorize the arrest

of ANTHONY LOMBARDO.

                                                   Respectfully submitted,

                                                   /s/ Joseph Donahue
                                                   Joseph Donahue
                                                   Special Agent
                                                   Federal Bureau of Investigation



       Subscribed and sworn to before me on January 17, 2023
                  Lynne      Digitally signed by
                             Lynne A. Sitarski

                  Sitarski   Date: 2023.01.18
                             09:34:30 -05'00'


       HONORABLE LYNNE A. SITARSKI
       UNITED STATES MAGISTRATE JUDGE




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